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                    Exhibit C
4/28/22, 4:26 PM       Case 3:21-md-02981-JD Document
                                              PayPal Payouts216-3     Filed
                                                             I Send Mass     04/28/22
                                                                         Payments           Page 2 of 5
                                                                                  I PayPal US


                                                          Log In (/signin)             Sign Up (/us/webapps/mpp/account­
                                                                                                    selection)




           Send multiple payments with
           Payouts: the PayPal mass pay
           option.
           Jul 08 2021 I PayPal editorial staff




                     Business Resource Center         > Discover PayPal products > Selling online

                     Processing individual payments can be time
                     consuming and leaves room for errors.
                     So when you need to streamline your selling process and manage mass payments
                     (http://www.paypal.com/us/webapps/mpp/mass-payout-payments) - perhaps to send rebates,
                     commissions, rewards or incentives-to a group of users, there are tools that make it easy.

                     The PayPal mass pay option, Payouts, is one such solution. The account holder can easily send
                     money to multiple people at the same time, and the recipients will receive the funds in their
                     PayPal account. You can send up to 15,000 payments at once with the API or 10,000 with batch
                     upload and a single click, saving you a lot of time.


                     PayPal Payouts benefits.
                      • Reduced friction for your customers: You can pay your customers with just email or phone
                        number. They can access their funds quickly so they can spend or withdraw them.
                      • Simplify international payments: Send disbursements globally in 24 currencies to recipients
                        in 156 countries.
                      • Cost effective: The sender pays a fee when sending; it's free for recipients to receive their
                        funds.
                      • Simple integration: The Payouts API uses industry-standard RESTful services and is
                        straightforward to integrate.
                      • Reduce your risk: PayPal risk and compliance controls help protect you from fraud.



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                     Payouts is best used to send small- to medium-sized payments to a large number of

                     people at once.
                     It works best with certain industries and situations, including:
                       • Retail or e-commerce: A marketplace may need to make hundreds of seller payouts.
                      • Financial services: A bank needs to disburse payments on behalf of their clients.
                      • The gig economy: Businesses may need to pay hundreds of contingent workers, sometimes in
                         multiple currencies.
                      • Service providers: Insurance companies paying bonuses for referrals.
                      • Media: Newspapers incentivizing mobile readership.
                      • Reseller: A retailer may need to pay a food manufacturer for the end product.
                      • Non-profits: A well-known non-profit has to pay relief aid to service providers during a
                         natural disaster.




                     How to start sending mass payments.
                     Setting up Payouts is a developer-friendly process. The Payouts API uses industry-standard
                     RESTful services. Or a sender can simply upload a spreadsheet with receiver info and payment
                     amounts (if they vary).


                     A PayPal Business account is required and payouts need to be enabled. To get Payouts, you must
                     have a merchant account and sign up for the service by calling 1-888-221-1161.


                     You'll also want to ensure your account has money to cover all transactions, including fees. Your
                     PayPal balance must be used and a bank transfer can fund the account, but debit and credit
                     cards cannot be used to fund mass payments.
                     Step 1

                         Choose Payout Recipients




                     Make sure that the email address associated with your Business account has been verified. Then,
                     upload a file that includes the customers' email addresses or phone numbers and how much you
                     want to pay (be sure to include the three-letter currency code). Payouts payments can be sent in
                     24 major currencies.


                     Step2



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                        Review Yo r Payout Details


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                     Review your payout details before completing your transaction.
                     Step 3




                        Your payo
                                   G  has been sent,




                     Click "Send Payout." Now your customers can collect their money (once they open a PayPal
                     account).


                     Important things to note.
                      • Individual payments cannot exceed USD $20,000.
                      • There are fees associated with mass payments 1 :
                           • For domestic payments made through our website, the fee is only 2% per payment and
                              capped at $1 USD.
                           • For payouts made through our API, it's just $0.25 USD per U.S. transaction.
                           • For international payments, the fee is 2% of the payment amount to each recipient, up to
                             a certain amount. Learn more about international fees.
                           • No fee is charged to the recipient.




                     How to troubleshoot a mass payment transaction.
                     If your transaction fails to begin processing, check the following:
                       • Do you have sufficient funds in your account?
                      • Have you verified that all information in your mass payment file is correct? For example: valid
                         email address, all payments paired with an email address and proper file format.
                      • Are you trying to process too many payments at one time?
                      • Do any of your payments exceed the maximum limit?
                      • Have you confirmed the email address associated with your PayPal Business account?
                      • Are you using incorrect user reference IDs?
                           • ID codes may not include spaces or exceed 30 characters.

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                      • Have you included a custom note that does not meet the requirements?
                         • Custom notes must not exceed 4,000 characters.
                      • Is this going to be utilized in non-US countries as well? One question that we often get from
                            Europe is about formatting the account since they use commas as decimal separators.
                             • The normal CSV file should look like this: sample@example.com,1000.55,id,note.
                             • If a comma is used as a decimal separator, then it needs to look like this:
                                sample@example.com,"1000,55",EUR,id,note.


                     How to check a mass payment status.
                    The status of any mass payments can be found in your transaction history, including whether
                     they're processing, denied, processed or completed.


                     You can also access additional information by reviewing our FAQs at the bottom of this page.




                     The contents of this site are provided for informational purposes only. You should always obtain independent,
                     professional accounting, financial, and legal advice before making any business decision.

                     1
                         Fees are subject to change. Learn more about fees.




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